Case 1:19-cv-00236-DCN Doc
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

  

 

 

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UNITED STATES DISTRICT COURT RTS
for the ; JUN > oni
an fey Hevd_ Filled time
| 1EN W.
__ Division CLERK, DISTRICT OF IDAHO
) se No.

 
  

if L is (to be filled in by the Clerk’s Office)

 
 

% oo
LEEK
Plaintiff(s) ) .
(Write the full name of each plaintiff who is filing this complaint. - 4.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) yes [Ino
lease write “see attached” in the space and attach an additional )-
page with the full list of names.) )
)
)

-v-

 

  
  

ast lobo} / bho [PE

Defendant(s) .
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. )

 
 

Re

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach. additional pager if

— Inder. lex Coredbil

Name

 
   
  

Street Address / if 9 PIL . ae _
City and County Ee} e a ~ =
State and Zip Code Tf og an
——-Felephone Number. FoDoe ingle og ad ‘aA TS
B-mail Address Wf

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, a0 organization, or 4 corporation. For an individual defendant,
include the person's job or title (Gif known). Attach additional pages if needed.

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Defendant No. 1

Name

 

Job or Title (f known)
Street Address

City and County
State and Zip Code

 

Telephone Number
E-mail Address (if known)

Defendant No. 2

Name.
Job or Title (flown)
‘Street Address
_, City and County
State and Zip Code
Telephone Number eee
E-mail Address (if known)

Defendant No. 3

Name ;
Job or Title (f known) — ,

Street Address

City and County

State and Zip Code

Telephone Number ; ,
E-mail Address (if known)

Defendant No. 4
Name
Oe Job or Title (fiiown) __ 7
Street Address |
City and County
State and Zip Code

 

Telephone Number
E-mail Address (if known)

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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving 4 federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of :
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, nO defendant may be a citizen of the same State as any plaintiff.

What ae for federal court jurisdiction? (check all that apply)

Federal question [| Diversity of citizenship

Fil out the paragraphs in this section that apply to this case. .

A.

B.

If the Basis for Jurisdiction {s a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

ee

If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) , , is a citizen of the

State of (name) .

b. If the plaintiff is a corporation en? ef
The plaintiff, (rame) IT Hw l ehe nsA 5 ow ecnteah “is incorporated
under the laws of the State of (name) x d &AhO 5

and has its principal place of business in the State of (name)

{ dake .

_ (ifmore than one plaintiff is named in the complaint, attach an additional page providing the
same jnformation foreach additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an. individual

The defendant, (name) ; , is a citizen of
_ Orisa citizen of

the State of (name)

ee
(foreign nation) .

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b. If the defendant is a corporation
The defendant, (name) 51 at Shon £ as , is incorporated under
the laws of the State of (ame) = a ak QO , and has its
principal place of business in the State of (name) “J a ahe
Or is incorporated under the laws of (foreign nation) oh sy SH. ,
and has its principal place of business in (name) teh. Se Re

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
- gtake—is more than $75,000, not counting interest and costs of court, because (explain):

 

Statement of Claim

Write a sbort and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
State how each defendant was

facts showing that each plaintiff is entitled to the damages or other relief sought.

involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including

the dates and places of that involvement or conduct. Ifmore than one claim is asserted, number each claim and
Attach additional pages if needed.

write a short and plain statement of each claim in a separate paragraph.

 

 

 

 

 

 

 

—+he-amounts-of any-actual-damages.claimed for the acts alleged and th

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
e basis for these amounts. Toclude any

punitive or exemplary damages claimed, the amounts, and the reasons you claim youre entitled to-actual or... oo.
punitive money damages. ‘

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Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not bemg presented for an improper purpose, such as to harass, cause ,
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.
Date of signing: £7 7 —/ f

Signature of Plaintiff

Printed Name of Plaintiff i a ade
a

 
 

 

 

B. For Attorneys

Date of signing: — ny

Signature of Attomey

 

Printed Name of ‘Attomey

 

Bar Number

 

Name of Law Firm
Street Address
“State and Zip Code— BN _ _ ee | a

 

 

Telephone Number
E-mail Address

 

 

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